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                        IN THE UNITED STATES DISTRICT COURT FOR THE

                                  DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                                )
                                                        )
                   v.                                   )       Case No.: _____________
                                                        )
RYAN PARKER,                                            )
                                                        )
                                                        )
                    Defendant.                          )

 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

          I, Joshua Rothman, a Special Agent with the Federal Bureau of Investigation being duly

sworn, depose and state as follows:

          1.       I have been a Special Agent with the FBI for the past thirteen years, and have been

stationed at the Washington, D.C. field office that entire time. I am currently assigned to the FBI

Safe Streets Task Force. In that role, I am principally involved in narcotics and narcotics-related

investigations, including violent offenses related to narcotics investigations. Since 2008, I have

received training and experience in interviewing and interrogation techniques, arrest procedures,

search and seizure, narcotics, white-collar crimes, search warrant applications, and various other

crimes.

          2.       Since January 2015, I have been assigned to investigate federal narcotics crimes on

the FBI Washington, D.C. Safe Streets Task Force, a violent crime and gang task force. In the

course of my training and experience, I have become familiar with the methods and techniques

associated with the distribution of narcotics, the laundering of drug proceeds, and the organization

of drug conspiracies. In the course of conducting these investigations, I have been involved in the

use of the following investigative techniques: interviewing informants and cooperating witnesses;



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conducting physical surveillance; conducting short-term and long-term narcotics and homicide

investigations; consensual monitoring and recording of both telephonic and non-telephonic

communications; analyzing telephone pen register and caller identification system data;

conducting court-authorized electronic surveillance; conducting court-authorized Title III wiretap

investigations; and preparing and executing search warrants that have led to substantial seizures

of narcotics, firearms, and other contraband.

       3.       Through my training and experience, as described above, I have become familiar

with the provisions of the federal firearms laws administered under Title 18 and Title 26 of the

United States Code, as well as controlled substance laws administered under Title 21 of the United

States Code. I have personally conducted and participated in investigations that have resulted in

the arrest and conviction of numerous individuals responsible for violations of the District of

Columbia Code and United States Code including, but not limited to, narcotics and firearms

offenses.

       4.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant. It does

not set forth all my knowledge, or the knowledge of others, about this matter.

       5.       Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that a violation of 18 U.S.C. § 922(o)(1)

(Unlawful Possession of a Machine Gun)               has been committed by RYAN PARKER

(“PARKER”).




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                                       PROBABLE CAUSE

       6.       On August 7, 2021, approximately at approx. 7:11pm hours, Metropolitan Police

Department (“MPD”) Officer Shoemaker utilized the Instagram social media program and viewed

a live broadcast of the account “outofstate_rynoo.” During the live broadcast, there was a young,

black male wearing a black hoodie, a blue medical face mask, a red t-shirt, blue jeans, and red

sneakers inside a vehicle. This individual is known to Officer Shoemaker as PARKER. PARKER

is also known to hang out in the area known as Fort Chaplin Apartments, specifically the 4200

block of Blaine St. NE. Based on the background of the live broadcast, Officer Shoemaker

recognized the red brick buildings as the same buildings in the Fort Chaplin Apartment Complex.

       7.       During this live Instagram broadcast, PARKER was seen holding a handgun in his

left hand. The handgun had a green lower receiver with a black string tied around it and a silver

slide. Attached to the firearm was a black drum magazine. Also, on the back of the slide, there was

a blue “giggle switch.” PARKER then exited a silver sedan style vehicle, and the Instagram live

broadcast ended.

       8.       Based on my training and experience, I know that a “giggle switch” is an after-

market accessory which can be affixed to a semi-automatic handgun. When attached, to the

handgun, the “giggle switch” interacts with the firing pin of the handgun in such a way as to make

the semi-automatic handgun capable of fully automatic firing. As such, a semi-automatic handgun

that is fitted with a “giggle switch” is properly classified as a “machinegun” as that term is defined

in 26 U.S.C. § 5845(b), in that it is “designed to shoot, or can readily be restored to shot,

automatically more than one shot, without manual reloading, by a single function of the trigger.”.

       9.       During the Instagram broadcast, when PARKER turned the handgun and pointed

it directly at the camera, Officer Shoemaker saw no sign of an orange tip on the barrel of the



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firearm to indicate that the firearm was a prop or toy. The size of the handgun was also consistent

with a real firearm, not that of a prop or toy, which would be much smaller or even blocked. The

firearm that PARKER possessed during the Instagram live video appeared to be a real, fully

functional handgun.

       10.     Within minutes of the Instagram broadcast, MPD officers pulled into the 4200

block of Blaine Street Northeast at approximately 7:13pm. Officers immediately viewed an

individual matching PARKER’s description standing in the street next to a silver sedan in the

4200 block of Blaine St. NE. As Officers approached, PARKER immediately distanced himself

from the silver sedan and walked towards the front lawn of 4201 Blaine St. NE. At this time,

Officers Shoemaker and Bartley approached PARKER and were able to positively identify

PARKER as the person from the video.

       11.     Officers Shoemaker and Bradley performed a protective pat down of PARKER,

but did not locate any weapons. While the pat-down was being performed, Officer Serratos walked

to the silver sedan and observed, in plain-view, a handgun with a drum magazine on the driver’s

seat. The firearm was visually identified as the handgun that PARKER was holding in the

Instagram live video. Officer Serratos notified Officers Shoemaker and Bradley of the presence

of the firearm and they attempted to place PARKER under arrest. At that point, PARKER

attempted to flee and actively resisted the officers.

       12.     The firearm as determined to be an unserialized 9mm Personally Manufactured

Firearm, commonly referred to as a “ghost gun.” The firearm consisted of a green, polymer lower

and a silver slide (consistent with the firearm possessed by PARKER in the Instagram live

broadcast minutes earlier). The firearm was loaded with one round in the chamber and 36 rounds




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in the attached drum magazine, and it was fitted with a “giggle switch” rendering it capable of

fully automatic fire, without manual reloading, by a single function of the trigger.




       13.     Based on the foregoing, your affiant asserts that there is probable cause to conclude

that, on or about July 16, 2021, in the District of Columbia, RYAN PARKER violated 18 U.S.C.

§ 922(o)(1), which makes it a crime to possess a machinegun.



                                      _____________________________________
                                      Special Agent Joshua Rothman
                                      Federal Bureau of Investigation




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Subscribed and sworn by telephone pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on August 9,
2021.
                    Digitally signed by G.
                    Michael Harvey
                    Date: 2021.08.09 15:52:23
                    -04'00'
_________________________________________
HON. G. MICHAEL HARVEY
UNITED STATES MAGISTRATE JUDGE




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